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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF HAWAII
 CARA BARBER, MELISSA                      CIVIL NO.: 14-00217 HG-KSC
 JONES, MELISSA STREETER,
 AND KATIE ECKROTH, On Behalf              PLAINTIFFS’ MOTION FOR
 of Themselves And All Others              CLASS CERTIFICATION;
 Similarly Situated,                       MEMORANDUM IN SUPPORT
                                           OF MOTION; EXHIBITS 1-3;
              Class Plaintiffs,            DECLARATION OF PATRICK
                                           KYLE SMITH; NOTICE OF
       vs.                                 HEARING MOTION and
                                           CERTIFICATE OF SERVICE
 OHANA MILITARY
 COMMUNITIES, LLC, FOREST
 CITY RESIDENTIAL                          Hearing Motion
 MANAGEMENT, INC.; and DOE                 Judge: Hon. Helen Gillmore
 DEFENDANTS 1-10,

              Defendants.
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             PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

         Plaintiffs Cara Barber, Melissa Jones, Melissa Streeter, and Katie Eckroth,

 by and through their attorneys, respectfully request this Court to grant class

 certification pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil

 Procedure. In support of this motion, Plaintiffs stated as follows:

      1. Defendants Ohana Military Communities, LLC (“Ohana”) and Forest City

         Residential Management, LLC (“Forest City RM”) have renovated,

         constructed, leased, and managed residential housing on Marine Corps Base

         Hawaii (MCBH) from 2006 to the present.1

      2. Forest City RM has acted as Ohana’s agent for the lease of residential

         housing to military families on MCBH from 2006 to the present and is

         authorized to manage residential housing at MCBH on Ohana’s behalf under

         the terms of Ohana’s leases with military families.2

      3. Between 2006 and 2014, Ohana, by and through its agent Forest City RM,

         entered into thousands of rental agreements with military families renting

         housing on MCBH.3

      4. Although Ohana was aware that soils on MCBH were contaminated with

         chlordane and other pesticides and contaminants at levels many times higher

 1
     Plaintiffs’ First Amended Complaint (“FAC”)(ECF 25) at 7, ¶¶21-23.
 2
     FAC at 7, ¶23.
 3
     FAC at 7, ¶24.


                                            ii
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         than the Environmental Protection Agency’s (“EPA”) EPA’s Tier 1 and 2

         environmental action levels (“EALs”), Ohana unfairly and deceptively failed

         to disclose the presence of pesticide-contaminated soils and other toxins to

         military families before leasing residential housing from Ohana.4

      5. Accordingly, Plaintiffs respectfully request this Court certify a damage class

         on behalf of:

         All current and former persons who have leased or resided in
         residential properties leased by Ohana Military Communities,
         LLC, at Marine Corps Base Hawaii (“MCBH”) in Kaneohe, Oahu,
         Hawaii, between 2006 to 2014.

      6. The Class involves questions of law and fact common to all individual

         members of the Class, which include: a) Defendants’ knowledge and

         disclosure of pesticide-contaminated soils’ b) whether Defendants engaged

         in deceptive or unfair trade practices related to the lease of residential

         housing to military families; and c) Defendants’ failure to disclose the risks

         and presence of toxic pesticides and other toxins to military families at

         MCBH.

      7. The claims, relief, and defenses for the Class are typical of the claims, relief

         and defenses that apply to individual members of the class. Specifically, all

         members have suffered similar injury and damages as a result of Defendants’

 4
     FAC at 22-23, ¶¶74-77.



                                            iii
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       unfair and deceptive trade practices and class-wide representations. Further

       the Class claims, relief, and defenses arise from the same conduct by

       Defendants and are based on the same legal theories.

    8. Plaintiffs will adequately and fairly represent the interests of individual

       members of the proposed Class in that they are similarly situated persons

       who entered leases with Defendants, lived on MCBH, and were subject to

       Defendants’ unfair or deceptive trade practices.

    9. Finally, prosecution of separate actions by individual members of the Class

       would create a risk of inconsistent and varying adjudications with respect to

       individual members of the Class, which would establish incompatible

       standards of conduct for the party opposing the Class. Accordingly, a class

       action under Rule 23 of the Federal Rules of Civil Procedure is in the best

       interests of judicial economy and is the superior method to resolve this

       litigation.

       DATED: Honolulu, Hawaii, this 29th day of October 2014.



                                              P. KYLE SMITH
                                              TERRANCE M. REVERE
                                              MALIA R. NICKISON-BEAZLEY
                                              CHRISTINA LAMBE

                                              Attorneys for Plaintiffs




                                         iv
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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF HAWAII
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 JONES, MELISSA STREETER,
 AND KATIE ECKROTH, On Behalf                 PLAINTIFFS’ MOTION FOR
 of Themselves And All Others                 CLASS CERTIFICATION;
 Similarly Situated,                          MEMORANDUM IN SUPPORT
                                              OF MOTION; EXHIBITS 1-3;
              Class Plaintiffs,               DECLARATION OF PATRICK
                                              KYLE SMITH; NOTICE OF
       vs.                                    HEARING MOTION and
                                              CERTIFICATE OF SERVICE
 OHANA MILITARY
 COMMUNITIES, LLC, FOREST
 CITY RESIDENTIAL
 MANAGEMENT, INC.; and DOE                    Hearing Motion
 DEFENDANTS 1-10,                             Judge: Hon. Helen Gillmore

              Defendants.


 I.    INTRODUCTION

       This case concerns Ohana Military Communities, LLC (“Ohana”) and Forest

 City Residential Management, LCC’s (“Forest City RM”) lease of pesticide-

 contaminated properties to thousands of military families at Marine Corps Base

 Hawaii (MCBH) from 2006 to 2014. Despite Ohana’s actual knowledge – based on

 hundreds of soil tests – that MCBH neighborhoods were contaminated with

 pesticides in excess of Tier 1 and Tier 2 Environmental Action Levels (“EALs”)

 before leasing to military families, Ohana told potential tenants only that chlordane

 and other pesticides “may be found in soils and under and around housing



                                          1
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 constructed in civilian and military communities” across the United States.5 Thus,

 between 2006 and 2014, Ohana entered thousands of residential leases with

 military families at MCBH claiming only that chlordane and other pesticides may

 be found when it knew beyond a shadow of a doubt these pesticides had been

 found at MCBH. Accordingly, because Ohana’s practice of leasing residential

 properties to military families within contaminated communities without disclosing

 the contamination constitutes an unfair and deceptive trade practice, Plaintiffs

 respectfully request this Court to certify a class action on behalf of:

         All current and former persons who have leased or resided in
         residential properties leased by Ohana Military Communities, LLC,
         at Marine Corps Base Hawaii (“MCBH”) in Kaneohe, Oahu, Hawaii,
         between 2006 to 2014.

 II.      STATEMENT OF FACTS

 Ohana’s Knowledge of Pesticides

         In 1996, under the provisions of the Military Housing Privatization Initiative,

 the United States Congress authorized the privatization of military housing

 whereby private companies were allowed to own and manage housing on military

 bases.6 Thereafter, in approximately 2006, Ohana took control of military housing

 on MCBH and has since entered more than a thousand leases with military families

 5
  FAC at 12, ¶38(a); see also Forest City RM’s Community Handbook for Marina
 Corps Neighborhoods (“Handbook”), attached hereto as Exhibit 1. Note this
 disclosure has not changed from 2006 to 2014.
 6
     Id. at 7, ¶ 21.


                                            2
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 on MCBH.7 Before leasing at MCBH, Ohana were warned that MCBH soils were

 potentially contaminated with chlordane and other pesticides.8 Ohana’s consultants

 therefore conducted extensive testing at MCBH, which confirmed the presence
                                                   9
 pesticide-contaminated     soils   at   MCBH.         After   confirming   pesticide-

 contaminated soils, Ohana created a Pesticide Soils Management Plan to address

 the risks of pesticide-contaminated properties for MCBH military families, that

 approved exposing military families to higher excess cancer and non-cancer health

 risks and required the removal of soil underneath all homes where Ohana planned

 to build new housing.10 Further, the Plan contemplated that, in the absence of other

 testing, all neighborhoods should be conservatively assumed to contain pesticide-

 impacted soils beneath and next to all existing foundations.11



 7
  Id. at 7, ¶24; see Answer to First Amended Complaint (“Answer”) (ECF 26) at 7,
 ¶24 (“Defendants admit that, since 2006, Ohana (and not Forest City) has entered
 more than 1,000 leases with service members at MCBH.”).
 8
     FAC at 9, ¶28.
 9
     FAC at 9, ¶31.
 10
    FAC at 10, ¶34; see Pesticide Soil Management Plan, attached hereto as Exhibit
 2, at 12
 11
   FAC at 11, ¶35(b); Ex. 2, Pesticide Soils Management Plan, at 23 (“In the
 absence of any previous testing, neighborhoods should be conservatively assumed
 to contain pesticide-impacted soils beneath all existing foundations, within a
 distance of 2 fee from the foundation, and to a depth of 2 feet bgs. These
 conservative assumptions for uninvestigated neighborhoods are based on the
 [Conceptual Site Model] and the results developed from testing at other
 neighborhoods, as described in Section 2.0.”)


                                          3
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       These facts are undisputed by Ohana. Ohana admits that: a) it was aware

 of pesticide-contaminated soils in excess of the Hawaii Department of Health’s

 Tier 1 Environmental Action Levels before leasing homes at MCBH;12 b) it hired

 environmental consultants who conducted extensive environmental testing and

 confirmed the presence of pesticide-impacted soils on MCBH; 13 c) testing

 confirmed the presence of chlordane, heptachlor, and heptachlor epoxide in MCBH

 soils, in addition to presence of aldrin, dieldrin endrin;14 d) pesticide levels at

 MCBH required creation of a Pesticide Soils Management Plan that set


 12
    Answer at ¶29 (“In response to paragraph 29 of the FAC, Defendants admit
 they were aware of pesticide levels above the Hawai‘i Department of Health’s
 (“DOH”) Tier 1 Environmental Action Levels (“EALs”), but deny that the Soil
 Management Plan failed to properly address all exceedances. Defendants further
 deny the implication that they failed to properly manage or address the soils at
 issue. Defendants deny all remaining allegations of said paragraph.”) (emphasis
 added).
 13
   Id. at ¶31(“In response to paragraph 31 of the FAC, Defendants admit that
 Defendants hired independent environmental firms to conduct extensive
 testing throughout MCBH. These firms have conducted extensive surface and
 subsurface soil investigations for organo-chlorinated pesticides, and have
 completed environmental site assessments for all phases of construction.
 Defendants deny the implication that they failed to properly manage or address the
 soils at issue. Defendants deny all remaining allegations of said paragraph.”)
 (emphasis added).
 14
    Id. at ¶33 (“In response to paragraph 33 of the FAC, Defendants admit the Soil
 Management Plan reflects the presence of heptachlor, chlordane, heptachlor
 epoxide, aldrin, dieldrin and endrin at MCBH, but deny that the Soil
 Management Plan failed to properly address all compounds. Defendants further
 deny the implication that they failed to properly manage or address the soils at
 issue. Defendants deny all remaining allegations of said paragraph.”) (emphasis
 added).


                                         4
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 requirements for managing pesticide-impacting soils based on heightened Tier 2

 Environmental Action Levels (EALs); 15 and e) that Ohana’s Pesticide Soils

 Management Plan contemplated the removal of pesticide-contaminated soils from

 around and underneath all homes before building new homes because of the

 potential presence of pesticides.16

 Ohana’s Failure to Disclose

          Despite Ohana’s knowledge of pesticide-contaminated properties on MCBH,

 however, Ohana did not disclose this information to potential or existing tenants.17

 Instead, Ohana only told military families that “although chlordane and other

 pesticides are no longer used, they may be found in soils under and around housing

 constructed in both military and civilian communities” in the United States.18 Thus,


 15
   Id. at 10, ¶34 (“In response to paragraph 34 of the FAC, Defendants admit that
 as a result of extensive surface and subsurface soil investigations, Defendants
 developed a Soil Management Plan, which was approved by DOH on March
 23, 2007. The Plan establishes Tier 2 EALs consistent with guidance from
 DOH, and sets requirements for the handling of pesticide-impacted soils.
 Defendants deny any remaining allegations that are inconsistent therewith.”)
 (emphasis added); see also Ex. 2 Soil Management Plan.
 16
   Id. at 10, ¶35(B) (“In response to paragraph 35(b) of the FAC, Defendants
 admit that, in an effort to be as conservative as possible, for each
 neighborhood where Defendants built new military housing, Defendants
 removed the soil from around and underneath all homes, regardless of
 whether the homes actually tested positive for pesticide impacted soil.
 Defendants deny all remaining allegations of said paragraph.”) (emphasis added).
 17
      FAC, at 9, ¶30.
 18
   Ex. 1, Community Handbook, at 14 (emphasis added); Note that Defendants
 admits that this disclosure is provided to MCBH tenants. Answer at 38(A) (“In

                                          5
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 despite undisputed knowledge that pesticide-contaminated properties had been

 found at MCBH, Ohana told military families only that chlordane and other

 pesticides may be found in the United States, which is intentionally misleading

 when Ohana had actual knowledge that MCBH neighborhoods were contaminated

 with pesticides and had even created a Plan because of the risk to military families

 at MCBH.

 III.   ARGUMENT

 A. Requirements for Class Action Certification under FRCP 23(a)

        “The class action was an invention of equity…mothered by the practical

 necessity of providing a procedural devise so that mere numbers would not disable

 large groups of individuals, united in interest, from enforcing their equitable rights

 nor grant them immunity from their equitable wrongs.”19 Courts widely recognize

 that pursuing a case as a “class action will achieve economies for both the litigants

 and the court. A class action significantly reduces the overall cost of complex

 litigation, allowing plaintiffs’ attorneys to pool their resources and requiring

 response to 38(a) of the FAC, Defendants admit that residents generally receive
 the Residential Community Handbook upon entering a residential lease in a
 neighborhood managed by Forest City at MCBH. Defendants admit the lease
 agreements with Plaintiffs’ spouses contain the quoted disclosure provisions,
 but Defendants deny the implications and conclusions drawn by
 Plaintiffs.”)(emphasis added).
 19
   Life of the Land v. Land Use Commission, 63 Haw. 166, 179,623 P.2d 431, 442
 (1981), quoting Montgomery Ward & Co. v. Langer, 168 F.2d 182, 187 (8th Cir.
 1948).


                                           6
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 defendants to litigate all potential claims at once, thereby leveling the playing

 fields between the two sides.”20 “Class actions are often the only means for

 assuring that defendants who have harmed consumers will not benefit from their

 unlawful conduct simply because of the magnitude of the misconduct and

 aggregated harm compared to the small magnitude of individual harm.”21 “The

 individual harm is often too minimal to bear the high costs of individual litigation.

 Thus, without the class action device, thousands of plaintiffs could be denied their

 day in court.”22

             Federal Rule of Civil Procedure 23 governs the process of class

 certification,23 and directs courts to determine, “[a]t an early practicable time,”

 whether to certify an action as a class action.24 Under Rule 23(a), one or more

 members of a class may sue as the representative parties on behalf of all when:

            (1) the class is so numerous that joinder of all members is impracticable,
            (2) there are questions of law or fact common to the class, (3) the claims
            or defenses of the representative parties are typical of the claims or
            defenses of the class, and (4) the representative parties will fairly and
            adequately protect the interests of the class.25


 20
      In Re Serzone Products Liability Litig., 231 F.R.D. 221, 240 (S.D.W. Va. 2005).
 21
   Id. at 240-41 (citing Gunnells v. Healthplan Serv., Inc., 348 F.3d 417, 426 (4th
 Cir. 2003)).
 22
      Id.
 23
      FED. R. CIV. P. 23.
 24
      FED. R. CIV. P. 23(c)(1)(A).
 25
      FED. R. CIV. P. 23(a).


                                                7
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 “These four requirements have been more conveniently termed: (1) numerosity; (2)

 commonality; (3) typicality; (4) adequacy.” 26             In addition to these four

 requirements, a litigant must also satisfy at least one of the categories of FRCP

 23(b), which generally tests whether a class action is logistically possible and

 superior to other actions.27

          A trial court is vested with broad discretion in deciding whether to certify a

 class.28 In determining whether a case is appropriate for class treatment, the

 “attention of the court and the parties, in primarily a non-adversary context,

 properly focuses on whether the facts meet Rule 23 criteria, and if so, whether

 class treatment is appropriate or superior.”29 Generally “for purposes of a class

 certification motion, the allegations of the complaint must be taken a true.”30

 “Since Rule 23 is generally required to be liberally construed, these presumptions


 26
   Hum v. Dericks, 162 F.RD. 628, 633 (D. Haw. 1995); see also Daly v. Harris,
 209 F.RD. 180,185 (D. Haw. 2002).
 27
      Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022 (9th Cir. 1998).
 28
      Blake v. Arnett, 663 F.2d 906, 912 (9th Cir. 1981).
 29
   ALBA CONTE & HERBERT NEWBERG, NEWBERG ON CLASS ACTIONS,
 Initial Class Determination: Strategies & Procedures. § 7: 17 (4th ed. 2002).
 30
   Id. at §7:17, n.8; see also Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 177-78
 (1974)(question is not whether plaintiffs will prevail on the merits, but simply
 whether requirements of Rule 23 have been met); Hum, 162 F.R.D. at 633 (not
 appropriate to consider merits of proposed class action during certification
 motion); Blackie v. Barrack, 524 F.2d 891,901 n17 (9th Cir.)(in ruling on motion
 for class certification, the district court must accept the substantive allegations of
 the complaint as true).


                                             8
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 arising at an early stage of the litigation, are invoked for the most part in favor of

 upholding the class.” 31 Indeed, “except where underlying class facts and

 circumstances are sheer speculation the initial burden on the party invoking the

 class action to show class facts is light.      A well pleaded complaint usually

 constitutes prima facie showing of these facts sufficient to shift the burden of

 disproving them to the party opposing the class.”32

 B. Class Plaintiffs’ Satisfy Each of FRCP 23(a)’s Requirements.

       1. The Class is so Numerous that Joinder is Impracticable.

          The first requirement of FRCP 23(a)(1) is that the class be so numerous that

 joinder of all members be impracticable.33 Although “no magic number” has been

 identified for satisfying the numerosity requirement, 34 decisions reflect that

 numerosity usually exists when the number of class members exceeds forty.35

 Thus, “the plaintiff whose class numbers in the 25 to 30 range should have a




 31
      Id. at §7.17
 32
      NEWBERG ON CLASS ACTIONS at §7:20.
 33
      FED. R. CIV. P. 23(a)(1).
 34
      Hum, 162 F.R.D. at 634.
 35
   See Dale Electronics, Inc. v. R.C.L. Electronics, Inc., 53 F.R.D. 531
 (D.N.H.1971); General Telephone Co. of Northwest v. EEOC, 446 US 318 (1980);
 Davis v. Four Seasons Hotel Ltd., 277 F.R.D. 429, 435 (D. Haw. 2011)(court
 certifies class of 64 employees).


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 reasonable chance of success on the basis of number alone.”36 Importantly, while

 sufficient evidence of class size is needed, a statement of exact class size is not

 required.37 The term “impracticable” does not mean “impossible.”38 In determining

 the numerosity requirement, a court must examine the specific facts of each case

 and impose no absolute limitations. 39 In determining whether joinder of all

 members is impracticable, courts consider factors such as class size, geographic

 dispersion of class members, whether class members are identifiable, ability or

 motivation of class members to pursue their claims individually, and size of the

 individual claims.40


 36
   1 NEWBERG ON CLASS ACTIONS § 3:11 (5th ed. 2013) (“No specific
 number alone is determinative of whether numerosity is present, but joinder is
 generally deemed practicable in classes with fewer than 20 members and
 impracticable in classes with more 40 members.”)(emphasis added).
 37
  Daly v. Harris, 209 F.R.D. 180, 186 (D. Haw. 2002)(citing 1 NEWBERG ON
 CLASS ACTIONS § 3:05 (3rd ed. 1992)(citations omitted)).
 38
   Sugai Prods., Inc. v. Kana Kai Farms, Inc., 1997 WL 824022 at *7 (D. Haw.
 1997); Hum, 162 F.RD. at 633- 634.
 39
   R.P.-Kv. State, 272 F.R.D. 541, 547 (D. Haw. 2011). See also, Amone v. Aveiro,
 226 F.R.D. 677, 683 (D. Haw. 2005) (“The numerosity requirement requires
 examination of the specific facts to each case and imposes no absolute
 limitations.”).
 40
    See Life of the Land, 63 Haw. 166, 182,623 P.2d 431,444 (1981) (did not disturb
 finding of numerosity because the record denoted the proposed class consisted of
 over 150 identifiable members.); Amone v. Aveiro, 226 F.R.D. 677, 683 (D. Haw.
 2005) (“factors relevant to the joinder impracticability issue include judicial
 economy arising from avoidance of a multiplicity of actions, geographic
 dispersement of class members, size of individual claims, financial resources of
 class members, the ability of claimants to institute individual suits, and requests for

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       Here, Rule 23’s numerosity requirement is readily satisfied because the class

 includes in excess of 1000 current and former tenants as Ohana admits.41 The sheer

 number of tenants subjected to Ohana and Forest City RM’s unfair and deceptive

 trade practice therefore makes joinder impracticable. A group of this size, whether

 pursued by 1000 individual actions or joined into a single action with 1000 military

 families would, without question, be difficult if not impossible for the courts to

 effectively administer, which raises the presumption of impracticability.42 Joinder

 is further impracticable because military families are frequently relocated to other

 military bases and locations and/or are deployed on a routine basis. While military

 families can be readily identified for the purpose of notice, this geographic

 dispersion would make individual joinder incredibly difficult. Joinder is also

 impracticable because of the military culture, which exerts pressure upon military

 families to not make complaints for fear of retaliation. Finally, litigation of these


 prospective injunctive relief which would involve future class members.”); Sugai
 Prods., Inc. v. Kona Kai Farms, Inc., 1997 WL 824022 at *7 (D. Haw.
 1997)(Joinder is more practicable when all class members are from the same
 geographic area or may be easily identified. ).
 41
   Answer at 7, ¶24 (“Defendants admit that, since 2006, Ohana (and not Forest
 City) has entered more than 1,000 leases with service members at
 MCBH.”)(emphasis added).
 42
   See 1 NEWBERG ON CLASS ACTIONS at §3:12 (4th ed. 2002) (“[a]s a general
 guideline, however, a class that encompasses fewer than 20 members will likely
 not be certified absent other indications of impracticability of joinder, while a class
 of 40 or more members raises a presumption of impracticability of joinder based
 on numbers alone.").


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 claims in a manner other than a class would result in a tremendous duplication of

 work and waste of judicial resources in addition to raising the risk of inconsistent

 and conflicting results between different forums. Therefore, because this proposed

 class includes more than 1000 tenants and the nature of the proposed class makes

 joinder inherently impracticable, the proposed class readily satisfies the numerosity

 requirement of Rule 23(a)(1).

          2.    The Class Shares Common Questions of Law or Fact.

          The second prong of FRCP 23(a)(2) requires that common questions of law

 or fact exist for the class.43 As the Supreme Court notes, commonality requires that

 class members’ claims “depend upon a common contention…of such a nature that

 it is capable of class-wide resolution – which means that determination of its truth

 or falsity will resolve an issue that is central to the validity of each one of the

 claims in one stroke.”44 “The rule does not require that every question of law or

 fact be common to every member of the class. Instead, commonality requirement is

 satisfied ‘where the question of law linking the class members is substantially

 related to the resolution of the litigation even though the individuals are not




 43
      FED. R. CIV. P. 23(a)(2).
 44
  Davis v. Four Seasons Hotel Ltd. 277 F.R.D. 429 (D. Haw. 2011), citing Wal–
 Mart Stores, Inc. v. Dukes, 131 S.Ct. 2541, 2551 (2011).

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 identically situated.’”45 Thus, commonality is a “flexible standard,” which is

 satisfied when class claims “retain a common core of factual or legal issues with

 the rest of the class.”46

          As the Ninth Circuit explained in Hanlon v. Chrysler Corp., the

 “commonality preconditions of Rule 23(a)(2) are less rigorous than the companion

 requirements of Rule 23(b)(3). Indeed, Rule 23(a)(2) is construed permissively.

 All questions of fact and law need not be common to satisfy the rule.”47 Thus, the

 “existence of shared legal issues with divergent factual predicates is sufficient, as

 is a common core of salient facts coupled with disparate legal remedies within the

 class.”48 In other words, Rule 23(a)(2) is satisfied when members of the proposed

 class share similar legal claims based on different facts or similar facts with

 different legal claims.

 45
   Hum, 162 F.R.D. at 635; Amone, 226 F.R.D. at 684 (“Commonality is
 established by the existence of shared legal issues with divergent factual
 predicates or a common core of salient facts coupled with disparate legal
 remedies within the class.”)(emphasis added); Daly v. Harris, 209 F.R.D. 180,
 187 (D. Haw. 2002); see also Dukes, 131 S.Ct. at 2556 (“We quite agree that for
 purposes of Rule 23(a)(2), even a single common question will do.”)(citations
 omitted).
 46
      Parra v. Bashas’, Inc., 536 F.3d 975, 978-79 (9th Cir. 2008).
 47
      Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998).
 48
   Id., see also In Re Synthroid Marketing Litigation. 188 F.R.D. 287,291 (N. D.
 111. I999)(quoting Garner v. Healv. 184 F.RD. 598, 601 (NO. Ill. 1999)(When
 “allegations involve standardized conduct by the defendants toward the potential
 class members ... ‘courts have readily found a common nucleus of operative
 facts.’”).

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       In this case, both the facts and legal claims of the class are substantially

 identical. This is because the core of this case arises and revolves around

 Defendants common trade practices and conduct related to the lease of MCBH

 housing. Thus, Defendants’ knowledge and response to contaminated properties, as

 well as rental practices used by Defendants to lease MCBH properties to military

 families, are two examples of questions of fact that generate class-wide answers for

 all members of the class.49 When Ohana learned of pesticide contamination, how

 Ohana responded, the amount of money Ohana saved by not disclosing

 contamination, and whether Ohana and Forest City RM’s rental practices were

 unfair or deceptive for consumers, are all key questions that have class-wide

 answers that reflect a “common nucleus of operative fact” extending throughout

 the class and relevant to every class member.

       While these common questions of fact and their answers satisfy FRCP Rule

 23(a)(2) by themselves, the class also shares common legal questions and claims

 that will require classwide resolution. For example, all class members entered

 residential leases with Ohana and received an identical chlordane “disclosure”




 49
   Dukes, 113 S.Ct. at 2551(quoting Nagarada, Class Certification in the Age of
 Aggregate Proof, 84 N.Y.U. L.Rev. 97, 132 (2009)(“What matters to class
 certification …is not the raising of common ‘questions’ – even in droves – but
 rather the capacity of class wide proceedings to generate common answers apt to
 drive the resolution of the ligation.”).


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 within Forest City RM’s Community Handbook,50 which is expressly incorporated

 into the lease. 51 Plaintiffs also allege that Ohana’s failure to inform military

 families about pesticide-contamination at MCBH constitutes an unfair and

 deceptive trade practice under Hawaii Revised Statute 480-2,52 in addition to a

 breach of Ohana’s contractual duties to homeowners. 53 Thus, the validity of

 Defendants’ disclosure and their duties to warn tenants of known dangers rests

 upon a shared questions of law that will apply to every member of the class.54

          Accordingly, because the class shares common questions of law and fact

 arising from Ohana and Forest City RM’s common conduct, Rule 23(b)(2)’s

 commonality requirement is satisfied as members of

          3.   The Claims and Defenses of the Class Representatives are Typical
               to the Class.

          This case also satisfies the typicality prong of Rule 23(a)(3), because the

 claims or defenses of the named plaintiffs are typical of the claims and defenses of

 50
      FAC at 13, ¶38(b).
 51
      FAC at 12, ¶38(a)(quoting Ohana MC Exemplar Lease Agreement at 4, ¶11.
 52
    FAC at 21-23, ¶¶71-81(Unfair & Deceptive Trade Practices); id. at ¶74
 (“Leasing residential housing at MCBH after the presence of pesticide-
 contaminated soils were confirmed at MCBH without disclosing this fact to
 potential tenants constitutes an unfair and deceptive trade practice in the conduct of
 trade and commerce that had the tendency to mislead potential tenants.”).
 53
   FAC at 17-18, ¶¶46-18(Breach of Contract); id. at 19-20 ¶¶55-62 (Breach of
 Implied Warranty of Habitability); and FAC at 20-21, ¶¶63-70 (Violation of HRS
 Chapter 521 – Hawaii Landlord Tenant Code).
 54
      FAC at 24-25, ¶¶82-91 (Negligent Failure to Warn).


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 all putative class members.55 Rule23(a)(3) requires that Plaintiffs’ claims “be of the

 same nature as the rest of the class.”56 In general, typicality is satisfied “when each

 class member's claim arises from the same course of events, and each class

 member makes similar legal arguments to prove the defendant's liability.”57 This

 prong has not been interpreted to mean that all claims of the class members must

 be identical, but merely that a common significant thread of law or fact must run

 throughout all of the claims.58 “[R]epresentative claims are therefore ‘typical’ if

 they are reasonably co-extensive with those of absent class members; [but] they

 need not be substantially identical.”59

          Rule 23(a)(3)’s typicality requirement is met in this case because there is no

 “conflict of interest” between the proposed class representatives and members of


 55
      See FED. R. CIV. P. 23(a)(3).
 56
      Daly v. Harris, 209 F.R.D. 180, 188 (D. Haw. 2002).
 57
   Davis v. Four Seasons Hotel Ltd. 277 F.R.D. 429, 436-37 (D. Haw. 2011), citing
 Rodriguez v. Hayes, 591 F.3d 1105, 1124 (9th Cir.2010).
 58
    1 NEWBERG ON CLASS ACTIONS, §3.29 (4th ed. 2002) (“claims need not be
 identical to those of the class; typicality will be satisfied so long as the named
 representatives' claims share the same essential characteristics as the claims of the
 class at large.); see Blackie v. Barrack, 524 F.2d 891, 910 (9th Cir. 1975)
 (typicality does not mean that the representative’s claims be coextensive with, or
 factually identical with, those of the putative Class.).
 59
    Hanlon, 150 F.3d at 1020; see also Davis v. Four Seasons Hotel, Ltd., 277 F.R.D.
 429, 436-37 (D. Haw. 2011)(“The class representative claims need only be
 ‘reasonably coextensive with those absent class members; they need not be
 ‘identical or substantially identical to those of the absent class
 members.’”)(emphasis added).


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 the proposed class. As this court recognized in Davis v. Four Seasons Hotel, the

 primary requisite of Rule 23(a)(3) is that the representative’s claim or defense be

 “essentially similar” to the claims or defenses throughout the class.60 Here, all of

 the proposed class members are present or former tenants of Ohana, who lived at

 MCBH between 2006 and the present. While class members may have rented

 MCBH properties at different times within different communities, the “essential

 similarity” shared by the class is whether Defendants’ failure to disclose the

 presence of pesticide contamination constitutes an unfair and deceptive trade

 practice for all owners, whether Defendants’ breached their contractual duties by

 not disclosing the presence of pesticide-contaminated soils, and whether

 Defendants had a duty to warn tenants about the presence of pesticide-

 contaminated properties. Likewise, Defendants’ central defense – that its

 “disclosure” chlordane and other pesticides “may have been used” in the United

 States insulates it from liability – applies to all class members equally.

          Thus, Rule 23(a)(3) is satisfied because common and significant threads of

 law and fact run throughout the claims and defenses of the class, and the claims of

 the class representatives are essentially similar to the claims of the proposed class

 so that there is no conflict of interest between the class representatives and absent

 class members.

 60
      Davis, 277 F.R.D. at 436-37.


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          4.    The Class Representatives and their Counsel will Fairly and
                Adequately Protect the Interests of the Class.
          The fourth and final requirement of Rule 23(a) is that the class

 representatives adequately represent the interests of the unnamed class members.61

 As the Ninth Circuit Court of Appeals summarized in Hanlon v. Chrysler Corp.,

 150 F.3d 1011, 1020 (9th Cir. 1998), “[r]esolution of two questions determine

 legal adequacy: 1) do the named plaintiffs and their counsel have any conflicts of

 interest with other class members, and 2) will the named plaintiffs and their

 counsel prosecute the action vigorously on behalf of the class?”62 In Davis v. Four

 Seasons Hotel Ltd., this Court applied this test to find adequacy for a class of

 service employees although the representative held different practical roles,

 geographic locations, and wages. 63 While some factual distinctions existed

 between the class and class representatives, the court still recognized the mutual

 interest shared by class representatives and members to address their employer’s




 61
   In re Dalkon Shield IUD Products Liability Litig., 693 F.2D 847 (9th Cir. 1982);
 see also General Tel. Co. of Southwest v. Falcon, 457 U.S. 147, 102 S.Ct. 2364
 (1982)(where representatives possess same interest and have suffered the same
 injury they will generally be considered to represent the class fairly and
 adequately).
 62
      Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998),
 63
      Davis, 277 F.R.D. at 436-37.


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                                  64
 misleading gratuity practices.        Moreover, those minor, relevant, factual

 distinctions did not bar certification because the same general interest was being

 served throughout the class.

       i.    The named class representatives are adequate under Rule 23(a).

       In this case, the named Plaintiffs are adequate representatives for the

 proposed class’ interests. The class members and class representatives’ claims arise

 from the same misconduct by Ohana. All class members possess an identical

 interest in demonstrating Ohana’s decision to purposefully withhold information

 about the presence of pesticide-impacted soils and other toxins was deceptive and

 unfair; all class members possess an identical interest in demonstrating that

 Ohana’s failure to disclose the presence of pesticide-impacted soils and other

 toxins breached its duty to provide safe and habitable housing to tenants and its

 duty to warn tenants of risks. Thus, there is no antagonism or relevant difference

 between the named class representatives and the members of the proposed class.

 Further, because there are four class representatives proposed, any minor

 differences that might exist will not overwhelm the ability of the class

 representatives to fairly and adequately represent the interest of MCBH tenants.




 64
   Id.; see, e.g. Jimenez v. Allstate Ins. Co., 765 F.3d 1161, 1168 (9th Cir.
 2014)(“So long as the plaintiffs were harmed by the same conduct, disparities in
 how or by how much they were harmed did not defeat class certification.”).


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            ii.   Plaintiffs’ counsel are adequate under Rule 23(a).

            Plaintiff’s counsel will adequately protect the interests of the entire class.

 These attorneys are highly experienced in the prosecution of class actions, have

 substantial trial and litigation experience, and have tried cases to successful

 verdicts. Plaintiffs’ counsel are well accustomed to the Federal Rules of Civil

 Procedure, relevant case law, and other pertinent legal issues regarding class

 actions, and thereby meet the second prong of FRCP(a)’s adequacy requirement.

 Accordingly, because class representatives and class counsel will both fairly and

 adequately represent the interests of class, Rule23(a)(4)’s requirement is satisfied.

            C.    Plaintiffs Satisfy the Additional Requirements of FRCP 23(b)(3).

            In addition to meeting the FRCP 23(a) prerequisites, plaintiffs seeking class

 certification must also satisfy one of three conditions in FRCP 23(b).             Here,

 Plaintiffs seek certification under Rule 23(b)(3). Rule 23(b) concerns whether a

 class action is logistically possible and superior to other actions. Certification

 under Rule 23(b)(3) requires movants to demonstrate predominance of common

 questions and superiority of the class action vehicle under the particular

 circumstances of this case. 65 This section supplies a means to decide similar

 disputes efficiently and economically.66 “The primary question…is whether the


 65
      Hum, 162 F.R.D. at 639.
 66
      Id.


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 class is brought together more by a mutual interest in the settlement of common

 questions than it is divided by the individual member’s interesting the matters

 peculiar to them.” 67 Thus, “[c]ertification is appropriate whenever the actual

 interests of the parties can be served best settling their differences in a single

 action.”68 Certification under Rule 23(b)(3) requires a predominance of common

 questions and superiority of the class action vehicle under the particular

 circumstances.69 Both elements are established here.

          1.    Common Issues Predominate.

          The predominance prong of Rule 23(b) examines “whether proposed classes

 are sufficiently cohesive to warrant adjudication by representation.”70 The rule

 “does not require uniformity of claims across the entire class,” but rather

 “presupposes that individual issues will exist.”71 Thus, when “common questions

 present a significant aspect of the case and they can be resolved for all members of

 the class in a single adjudication, there is clear justification for handling the dispute




 67
      Pistoll v. Lynch, 96 F.R.D. 22, 28, (D. Haw. 1982).
 68
   Daly v. Harris, 209 F.R.D. 180, 192 (D. Haw. 2002)(citing Hanlon, 150 F.3d at
 1022 (quoting 7A CHARLES ALAN WRIGHT, ARTHUR R. MILLER & MARY
 KAY KANE, FEDERAL PRACTICE AND PROCEDURE § 1777 (2d ed. 1986)).
 69
      Hum v. Dericks, 162 F.R.D. 628, 639 (D.Haw. 1995).
 70
      Amchem Products, Inc. v. Windsor, 521 U.S. 591, 625 (1997).
 71
      Payne v. Goodyear Tire & Rubber Co., 216 F.R.D. 21, 23 (D. Mass. 2003).


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 on a representative rather than on an individual basis.”72 “There is no rigid test of

 predominance; rather, it simply requires finding that a sufficient constellation of

 issues binds class members together.”73 Thus, a “single, central issue as to the

 defendants’ conduct vis a vis class members can satisfy the predominance

 requirement even when other elements of the claim require individualized proof.”74

            As the First Circuit has admonished, “classes…made up of consumers are

 especially likely to satisfy the predominance requirement.”75 Here, Ohana and

 Forest City RM’s failure to inform thousands of military families that MCBH

 housing was contaminated with pesticides is a “single central issue as to

 defendants’ conduct” that relates to the claims shared by all class members.

 Plaintiffs and members of the proposed class will require the exact same lay and

 expert witnesses to prove that Defendants knew of the existence of toxic chemicals.

 Defendants will likewise call the same witnesses in every case hoping to disprove

 plaintiffs’ claims. “There is no reason for this issue to be rehashed” hundreds or

 thousands of times.76 A more appropriate case for class treatment would be hard to



 72
      Nakamura, 122 Haw. at 247 (quoting Hanlon, 150 F.3d at 1019-20)
 73
  Achem Products, Inc., 521 U.S. at 625 (quoting Waste Mgmt. Holdings, Inc. v.
 Mowbray, 208 F.3d 288, 296 (1st Cir. 2000)).
 74
      Id.
 75
      Smilow v. Southwestern Bell Mobile Sys, Inc., 323 F.3d 32, 42 n.9 (1st Cir. 2003).
 76
      Id. at 28.


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 imagine as a common nucleus of facts and legal remedies dominates this litigation,

 which can be resolved in a single class rather than thousands of individual actions.

          2.    Class Treatment is the Superior Method for Litigating Plaintiffs’
                Claims.

          Rule 23(b)(3) requires an inquiry into whether the objectives of the

 particular class action procedure can be achieved in the particular case.77 This

 determination frequently involves a comparative evaluation of alternative

 mechanisms of dispute resolution.78 Specifically, this inquiry considers “a) the

 interests of members of the class in individually controlling the prosecution or

 defense of separate actions; b) the extent and nature of any litigation concerning

 the controversy already commenced by or against members of the Class; c) the

 desirability or undesirability of concentrating the litigation of the claims in the

 particular form; [and] d) the likely difficulties to be encountered in the

 management of the class action.”79 In Hanlon, the Ninth Circuit explained the

 superiority of the class action vehicle for claims of owners of minivans with

 defective rear lift-gate latches:

        Even if efficacious, these claims would not only unnecessarily burden
        the judiciary, but would prove uneconomic for potential plaintiffs. In

 77
      FED. R. CIV. P. 23(b)(3).
 78
   See 1 NEWBERG ON CLASS ACTIONS § 4:86 (5th ed. 2013) (“some courts
 have gone a step further and considered whether a class action is superior in light
 of other, non-judicial ways of handling the controversy at issue.”).
 79
      FED. R. CIV. P. 23(b)(3)(A-D).


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        most cases, litigation costs would dwarf potential recovery. In this sense,
        the proposed class is paradigmatic. A fair examination of alternatives
        can only result in the apodictic conclusion that a class action is the
        clearly preferred procedure in this case. . . . From either a judicial or
        litigant viewpoint, there is no advantage in individual members
        controlling the prosecution of separate actions. There would be less
        litigation or settlement leverage, significantly reduced resources and no
        greater prospect for recovery. . . . A comparative examination of
        alternatives underscores the wisdom of a class action in this instance.80

 The same pragmatic justifications apply to this case making a class action the

 superior method to resolve the thousands of near-identical claims at issue.

         i.     The interests of individual members of the class are served by a class
                action.

         Other than a class action, the two alternative mechanisms that could resolve

 plaintiffs’ claims would be: a) thousands of individual actions by individual

 plaintiffs, or b) a single action joining together thousands of plaintiffs. Each of

 these hypothetical alternatives, however, would be both difficult to administer and

 extremely inefficient.     The difficulties of prosecuting more than a thousand

 individual lawsuits or managing a single lawsuit with thousands of individual

 plaintiffs would be out of proportion to the resources and time that would have to

 be expended by the court and the parties. Allowing this litigation to proceed as a

 class action, however, will create efficiency for the court and the parties, and

 promote consistency by resolving the multitude of identical claims before a single,



 80
      Hanlon, 150 F.3d at 1023.


                                            24
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 competent court that can ensure the protection of all class members' interests.

 Conversely, forcing class members to bring individual claims would create an

 additional burden on an already overburdened court system, and result in a colossal

 waste of judicial and party resources because of the duplication of efforts in

 thousands of individual cases, before different judges, in different courts, simply to

 resolve identical issues of law and fact.

       A class action also maximizes judicial economy and resources by

 streamlining discovery and other procedures under Rule 23. At the same time,

 because the potential recovery of individual owners is bounded by specific limits

 that will not change whether these claims are pursued individually or by a class,

 there is little reason for individual plaintiffs to prefer separate actions. In fact,

 individual actions would instead result in the inefficient resolution of claims while

 risking conflicting and inconsistent decisions by different courts. Therefore, this

 case presents the ideal scenario for class treatment and is far superior to any

 available alternative.

       ii.    Other litigation has not commenced by or against class members.

       After a check of the federal and state judiciary websites, Plaintiffs could not

 locate any suits filed against Ohana related to this matter that have been

 commenced by or against any member of the putative class. The lack of other

 actions supports Plaintiffs’ position that this case presents the best vehicle for



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 certification because there are no other actions that are further along or present a

 better opportunity to resolve the class-wide questions of law and fact in this case.81

 Rather, because of common legal and factual issues shared by class members, there

 is a strong interest in resolving the common legal claims and defenses in this single

 action rather than a multitude of individual actions.

         iii.   Concentrating litigation in the particular forum.

         This factor focuses on selection of the proper forum.82 Ohana’s business

 location is in Hawaii, and every member of the putative class has resided in Hawaii

 at some time, since the class is defined to include past and present residents on

 MCBH since 2006. The location where the majority of members reside and the

 bulk of evidence is maintained is highly relevant in determining appropriate venue.
 83
      Here, the location of the base, the properties at issue, and the evidence are all in

 this forum and venue. Consequently, this is the proper forum to resolve this

 litigation. And while true that individual tenants may reside elsewhere, class

 members outside of Hawaii still have a clear interest in joining the class members



 81
    See In re Prudential Ins. Co. of Am. Sales Practices Litig., 962 F. Supp. 450 (D.
 N.J. 1997) (explaining that the paucity of individual actions in comparison to the
 large number of Class Members “suggests little individual interest in prosecuting
 actions against Prudential”).
 82
    1 NEWBERG ON CLASS ACTIONS § 6:29 (5th ed. 2013) (emphasis of factor
 is on forum selection).
 83
      1 NEWBERG ON CLASS ACTIONS § 6:30 (5th ed. 2013).


                                             26
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 in the United States District of Hawai’i and being represented by qualified class

 counsel in this venue.

         iv.    The class can be efficiently managed.

         The fourth and final factor concerns the likely difficulties in managing the

 action. This includes the size or contentiousness of the class, the onerousness of

 complying with notice requirements, the number of class members who may try to

 intervene and participate, and the presence of special and individual issues.84

 Manageability, however, offers grounds for denying class certification only when

 such difficulties make a class action less fair and efficient than some other

 method.85 Moreover, “the difficulties likely to be encountered in the management

 of a class action are not important when weighed against the benefits to the class,

 and any sub-class thereof, and to the administration of justice.”86

         A class involving more than 1,000 families is large, but it is by no means

 unmanageable.       Liability focuses on whether Ohana engaged in a common

 misleading trade practice by leasing contaminated homes to military families with

 disclosure. Members of the class can be easily ascertained through military records


 84
      7 A Wright, Miller, & Kane, Federal Practice and Procedure § 1780 (1986).
 85
  1 NEWBERG ON CLASS ACTIONS § 6:29 (5th ed. 2013); see also In re
 Workers’ Compensation, 130 F.R.D. 99, 110 (D. Minn. 1990) (“dismissal for
 management reasons is never favored”).
 86
   Technograph Printed Circuits, Ltd V Methode Electronics, Inc., 285 F. Supp.
 714, 724-725 (N.D.IlI. 1986).


                                          27
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 and residential records identifying past tenants for the entire base for the relevant

 timeframe kept by Defendants. Plainly, a class that has available addresses to

 contact the current tenants, as well as available records to identify past tenants, is

 readily manageable. Accordingly, maintenance of this suit as a class action

 represents the most efficient and economical procedure for adjudicating Plaintiffs’

 claims by providing class members with their “day in court” without

 overburdening the judicial system with a multiplicity of duplicative lawsuits.87

       Class adjudication also benefits Defendants.        Ohana will be relieved of

 having to defend thousands of individual lawsuits and their culpability can be

 decided in one consolidated and fair proceeding. In addition, documents, fact

 witnesses, and expert testimony will only be presented once. Finally, no other

 practical litigation alternative exists. “[W]here a court has already made a finding

 that common issues predominate over individualized losses, we would be hard

 pressed to conclude that a class action is less manageable than individual




 87
   Accord Joint Executive Bd. Of Culinary/Bartender Trust Fund v. Las Vegas
 Sands, 244 F .3d 1152, 1163 (9th Cir. 201), cert. denied 534 U.S. 973, 122 S. Ct.
 395, 151 L.Ed.2d 299 (2001) (“If a comparative evaluation of other procedures
 reveals no other realistic possibilities, [the] superiority portion of Rule 23(b)(3) has
 been satisfied.”); Roper v. Conserve, Inc., 578 F.2d 1106, 1112 (5th Cir. 1978)
 (“The claims of a large number of individuals can be adjudicated at one time, with
 less expense than would be incurred in any other form of litigation.”).


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 actions.”88 For all these reasons, a class action is unquestionably the superior

 method of adjudication for this case. Again, because the addresses of current and

 former tenants of MCBH are both easily obtained, adequate notice can be provided

 to the putative class members without trouble. Indeed, proposed class counsel has

 previously handled claims for multiple notices in classes involving tens of

 thousands of homeowners. The logistics of providing notice to more than 1000

 families will be neither difficult nor novel. Finally, because there are no other

 means by which these claims can economically be brought, class members would

 otherwise be deprived of a remedy altogether if class certification were to be

 denied. “If there is to be an error made, let it be in favor and not against the

 maintenance of the class action, for it is always subject to modification should later

 developments during the course of the trial so require.”89

 D.    Request for Approval of Notice and Order Compelling Disclosure of
       Names and Addresses of MCBH Tenants From 2006 to 2014.

       Finally, attached hereto as Exhibit 3 is Plaintiffs’ proposed Notice of Class

 Action, which Plaintiffs respectfully request the Court to approve. Further,

 Plaintiffs request an order compelling the parties to meet and confer within thirty

 (30) days of the class certification hearing to develop an accurate address of

 88
   Klay v. Humana Inc., 382 F.3d 1241, 1273 (l1th Cir. 204), cert. denied 543 U.S.
 1081, 125 S. Ct. 877, 160 L.Ed2d 825 (2005).
 89
   Esplin v. Hirschi, 402 F .2d 94, 99 (10th Cir. 1968), cert. denied, 394 U.S. 928,
 89 S. Ct. 1194, L.Ed.2d 459 (1969).


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 military families who rented residential housing at MCBH from 2006 to 2014 in

 order for the purpose of mailing the approved notice. Subject to this Court’s

 approval of the proposed Notice of Class Action, and after Defendants provide

 names and addresses for MCBH tenants, Class Counsel will serve the attached

 notice. Accordingly, Plaintiffs respectfully request this Court to approve the form

 of the notice and First Class U.S. Mail as the method of serving the same.


 IV.      CONCLUSION

          Justice and judicial economy will be best served if these claims receive class

 certification.    Accordingly, and for the above reasons, Plaintiffs respectfully

 request this Court to:

        1. Grant Plaintiffs’ Motion for Class Certification under Federal Rule of
           Civil Procedure 23;
        2. Compel Defendants to provide the names and addresses of all tenants
           at MCBH from 2006 to 2014;
        3. Approve the form and content of the attached proposed Notice of
           Class Action and authorize Class Counsel to send the Notice to the
           putative class members by First Class U.S. Mail;90
        4. Appoint the law firms of a) Lynch, Hopper Salzano & Smith; and b)
           Revere & Associates as Class Counsel.

 DATED: Honolulu, Hawaii, this 289h day of October 2014.


                                                 P. KYLE SMITH
                                                 TERRANCE M. REVERE

 90
      See Proposed Notice of Class Action, attached hereto as Exhibit 3.


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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF HAWAII
 CARA BARBER, MELISSA                          CIVIL NO.: 14-00217 HG-KSC
 JONES, MELISSA STREETER,
 AND KATIE ECKROTH, On Behalf
 of Themselves And All Others
 Similarly Situated,

                Class Plaintiffs,               DECLARATION OF PATRICK
                                                KYLE SMITH
          vs.

 OHANA MILITARY
 COMMUNITIES, LLC, FOREST
 CITY RESIDENTIAL
 MANAGEMENT, INC.; and DOE
 DEFENDANTS 1-10,

                Defendants.


          I, PATRICK KYLE SMITH, declare under penalty of law that the following

 is true and correct to the best of my knowledge and belief:

       1. I am a partner in the law firm of Lynch, Hopper, Salzano & Smith, am over
          the age of eighteen, licensed to practice law before the courts of the State of
          Hawaii, and competent to testify to the matters herein.

       2. The underlying claims concern Defendants’ failure to disclose pesticide-
          impacted soils and other toxins to MCBH families.

       3. Attached hereto as Exhibit 1 is a true and correct copy of Forest City RM’s
          Community Handbook for Marine Corps Neighborhoods (“Handbook”).

       4. Attached hereto as Exhibit 2 is a true and correct copy of Ohana Military
          Communities, LLC’s Pesticide Soils Management Plan.

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    5. Attached hereto as Exhibit 3 is a true and correct copy of the Proposed
       Notice of Class Action.

 I declare under penalty of perjury of law that the foregoing is true and correct.



       DATED: Honolulu, Hawaii, October 29, 2014.


                                         ___________________________
                                         P. KYLE SMITH




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                    UNITED STATES DISTRICT COURT
                         DISTRICT OF HAWAII
 CARA BARBER, MELISSA JONES,                CIVIL NO.: 14-00217 HG-KSC
 MELISSA STREETER, AND KATIE
 ECKROTH, On Behalf of Themselves
 And All Others Similarly Situated,
                   Class Plaintiffs,

       vs.

 OHANA MILITARY COMMUNITIES,                CERTIFICATE OF SERVICE
 LLC, FOREST CITY RESIDENTIAL
 MANAGEMENT, INC.; and DOE
 DEFENDANTS 1-10,
                Defendants.

         Pursuant to Federal Rule of Civil Procedure 5(a), the undersigned hereby
 certifies that PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
 MEMORANDUM           IN    SUPPORT       OF    MOTION;       EXHIBITS       1-3;
 DECLARATION OF PATRICK KYLE SMITH; NOTICE OF HEARING
 MOTION and CERTIFICATE OF SERVICE was served upon the following
 parties through CM/ECF:
         Randall Whattoff, Esq.             rwhattoff@goodsill.com
         Lisa Munger, Esq.                  lmunger@goodsill.com
         Attorneys for Defendants

 DATED this 29th day of October 2014.

                                        _____________________________
                                        LYNCH, HOPPER, SALZANO &
                                        SMITH
                                        P. KYLE SMITH, ESQ. - 9533
                                        970 N. Kalaheo, Ste. A301
                                        Kailua, Hawaii 96734
